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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,


 v.
                                                                Case No. 21-cr-3 (RCL)

 JACOB ANTHONY CHANSLEY,

         Defendant.


                                    MEMORANDUM ORDER

       On February 2, 2021, defendant Jacob Anthony Chansley filed an “Emergency Motion for

Sustenance or in the Alternative, For Pre-Trial Release.” ECF No. 6. After the United States

Attorney for the District of Columbia filed a response earlier today, the Court held a hearing. ECF

No. 7. Upon consideration of defendant’s motion, ECF No. 6, the U.S. Attorney’s response, ECF

No. 7, and all the arguments set forth at the hearing, the Court will GRANT defendant’s motion

seeking a religious dietary accommodation, ECF No. 6. Accordingly, the Court will ORDER the

D.C. Department of Corrections (“DOC”) to provide defendant with food designated “organic” by

the United States Department of Agriculture. Furthermore, because defense counsel withdrew the

alternative request for pre-trial release, the Court need not rule on that request.

                                        I. BACKGROUND

       On Wednesday, January 27, 2021, shortly after his transfer to the custody of the DOC,

defendant filed an inmate request for “organic food.” ECF No. 6-2 at 1. In his request, defendant

wrote that for the past eight years, because he is a Shamanic practitioner, he has eaten only

“traditional food that has been made by God.” Id. at 1. Defendant explained that such food is made

without genetically modified organisms (“GMOs”), herbicides, pesticides, artificial preservatives,

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or artificial colors. Id. He added that he has not eaten since Monday morning at 8:15 A.M. and

“humbly request[ed]” a “few organic canned vegetables,” “canned tuna (wild caught),” or “organic

canned soups.” Id. at 1. And he explained:

               If I have to go a week [without] food or longer then so be it. I will stay
               committed to my spiritual/religious beliefs even if it means I suffer
               physically. I will continue to pray [through] the pain and do my best not to
               complain. I simply ask that you understand that the physical effects of my
               not eating organic food are harmful to my body and bio-chemistry. I have
               strayed from my spiritual diet only a few times over the last 8 years with
               detrimental physical effects. As a spiritual man I am willing to suffer for
               my beliefs, hold to my convictions, and bear the weight of their
               consequences. I simply ask that an exception (please) be made for my
               special circumstances. The last facility I was [at] in Arizona made such an
               exception for the short duration of my visit there. I kindly [and] humbly ask
               that a brief exception be made in this location as well. Please Chaplain as a
               man of God I ask that you please try to understand my convictions and plead
               my case to the necessary parties.

Id. at 1, 3.

        The DOC sent defendant’s dietary request to the DOC Chaplain for review. On February

1, 2021, the DOC Chaplain denied the request with a two-sentence explanation. See ECF No. 6 at

1. The Chaplain wrote, “Upon entering the DC DOC institution, you have not identified your

faith/belief. Religious Services was unable to find any religious merit pertaining to organic food

or diet under Shamanism Practitioner.” Id.

        Defendant promptly filed the present motion. ECF No. 6. In it, he explains that he has “not

eaten food in over one week” and reiterates that because of his Shamanic beliefs, eating non-

organic food would cause him serious illness. ECF No. 6 at 9. Defendant requests that he be given

organic food, or in the alternative, that he be released pending trial. ECF No. 6. The United States

Attorney for the District of Columbia opposes defendant’s motion for pre-trial release but takes no

position on defendant’s request for a religious dietary accommodation. ECF No. 7 at 1.




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        At the hearing on defendant’s motion, defense counsel clarified that his “Motion for

Sustenance,” ECF No. 6, brings a First Amendment religious liberty challenge to the DOC’s

refusal to provide defendant with an all-organic diet. Defense counsel further clarified that the

request for pre-trial relief is an alternative request and that the Court need not rule on it if the Court

rules favorably on defendant’s request for a religious dietary accommodation. Furthermore,

because the United States Attorney does not take a position on defendant’s request for a dietary

accommodation, see ECF No. 7 at 1, a representative of the DOC appeared at the hearing to defend

the DOC’s rejection of defendant’s request. Defendant’s motion is now ripe for consideration.

                                      II. LEGAL STANDARD

        The First Amendment to the United States Constitution protects the “free exercise” of

religion. U.S. CONST. AMEND. I. For many years, the Supreme Court interpreted that guarantee as

requiring the government to justify even incidental burdens upon religious practice under strict

scrutiny. See, e.g., Sherbert v. Verner, 374 U.S. 398, 403 (1963); Wisconsin v. Yoder, 406 U.S. 205,

220 (1972). Under that framework, a religious claimant had the initial burden to show that he was

(1) advancing a religious belief, (2) that his religious belief was sincere, and (3) that the challenged

governmental action imposed a substantial burden upon his religious exercise. William D. Lay,

Free Exercise and the Resurgence of the Religious Freedom Restoration Act, SAGE OPEN 1, 4

(2016), https://journals.sagepub.com/doi/full/10.1177/2158244015625446; cf. Sherbert, 374 U.S.

at 403; Yoder, 406 U.S. at 220.

        Regarding what constituted a “religious” belief, courts entertained a broad definition that

encompassed essentially all belief systems aimed at answering questions of “ultimate concern.”

Malnak v. Yogi, 592 F.2d 197, 208 (3d Cir. 1979) (Adams, J., concurring). As to whether litigants

sincerely believed in those systems, courts declined to interrogate whether claimants’ particular



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religious views departed from established religious doctrines, asking only whether the claimants

truly believed the views they espoused. Thomas v. Review Bd. of Indiana Emp. Sec. Div., 450 U.S.

707, 715 (1983); see also Presbyterian Church v. Hull Church, 393 U.S. 440, 450 (1969)

(“[D]eparture-from-doctrine . . . requires the civil court to determine matters at the very core of a

religion—the interpretation of particular church doctrines and the importance of those doctrines to

the religion. Plainly, the First Amendment forbids civil courts from playing such a role.”). And

finally, under the “substantial burden” prong, the claimant had to satisfy two constituent inquiries:

the “subjective” burden and the “objective” burden. See Lyng v. Northwest Indian Cemetery

Protective Ass’n, 485 U.S. 439, 449 (1988). In other words, the claimant had to show both that he

perceived the challenged governmental action burdened his religious belief and that the challenged

action had objectively coerced him from adhering to his religious precepts. Id.

       If the religious claimant satisfied that initial showing, the burden shifted to the government

to justify the challenged policy under a two-part inquiry. First, the government was required to

show that its challenged action was supported by a “compelling state interest.” Sherbert, 374 U.S.

at 406. And second, it had to show that it had selected the means least restrictive on religious

practice in achieving that end. Id. at 407 (requiring the state “to demonstrate that no alternative

forms of regulation would [achieve the purported interest] without infringing First Amendment

rights”). Only if the challenged practice could survive that rigorous gauntlet could it impose a

substantial burden upon the free exercise of the religious claimant.

       In its 1990 decision Employment Division v. Smith, the Supreme Court significantly

restricted that framework. 494 U.S. 872, 884–85 (1990). It explained that neutral and general laws

that incidentally burdened religious practice would no longer merit strict scrutiny, but instead

would be subject only to rational basis review. Id. So long as the government could show that its



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practice was rationally related to a legitimate government interest, its practice could survive a First

Amendment challenge. See, e.g., Miller v. Reed, 176 F.3d 1202, 1206 (9th Cir. 1999).

       Relevant to this case, however, Smith explicitly declined to overrule the doctrine of

Sherbert v. Verner in all its applications. Indeed, Smith distinguished its own holding—regarding

neutral and generally applicable laws—from the situation at issue in Sherbert—“individualized

governmental assessment of the reasons for the relevant [religious] conduct.” Smith, 494 U.S. at

884. In that context, Smith recognized what later scholars termed the “individualized governmental

assessment exception.” See Mary E. McMahon, Note, May I Be Excused? Smith’s Individualized

Governmental Assessment Exception and the HHS Mandate, 53 J. CATHOLIC L. STUDIES 93, 103

(2014) (noting that Sherbert “lives on” through the individualized governmental assessment

exception). In other words, where the challenged state action is not a general law, but is instead a

particularized adjudication that burdens religious exercise, courts can still apply strict scrutiny to

resultant religious burdens. Id.

       Moreover, the Supreme Court’s later interpretations of Smith have clarified that its holding

regarding relaxed scrutiny for neutral and generally applicable laws applies only insofar as the

challenged laws genuinely are neutral and generally applicable. Church of the Lukumi Babalu Aye

v. City of Hialeah, 508 U.S. 520, 531–36 (1993). Where the state has engaged in a regulatory

“gerrymander” that targets a restriction at a disfavored religious sect, such a “gerrymander” can

indicate that state action is not truly neutral toward religion. Id. at 534–36. And even where the

challenged practice is not tainted by non-neutrality, the law still may face strict scrutiny where it

is not enforced in a generally applicable manner. Id. at 535–36, 542. For instance, where the

government provides a litany of exceptions to a policy for other religions, but withholds one for a




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particular religious claimant, that under-enforcement may itself show that the law is not generally

applicable, and thus that it merits heightened review. Id.

       In the wake of Smith, Congress also passed religious liberty statutes intended to restore

Sherbert’s strict scrutiny framework to particular types of claims. Relevant to this litigation is the

Religious Land Use and Institutionalized Persons Act (“RLUIPA”). 42 U.S.C. § 2000cc et seq.

Echoing Sherbert, RLUIPA provides that insofar as a prisoner asserts a sincere religious belief,

“no government shall impose a substantial burden on the religious exercise of a person residing in

or confined to an institution . . . even if the burden results from a rule of general applicability,

unless the government demonstrates that imposition of a burden on that person is (1) in furtherance

of a compelling governmental interest; and (2) is the least restrictive means of furthering that

compelling governmental interest.” Id. at § 2000cc-1(a). And like the Sherbert framework,

RLUIPA broadly defines “religious exercise” to include “any exercise of religion, whether or not

compelled by, or central to, a system of religious belief.” Id. at § 2000cc-5(7)(A) (emphasis

added). In combination, then, RLUIPA and the First Amendment provide prisoners with powerful

mechanisms to challenge aspects of their confinement that substantially burden religious free

exercise.

                                        III. DISCUSSION

       Ordinarily, as mentioned above, Free Exercise challenges to neutral and generally

applicable laws post-Smith merit only rational basis review, under which the DOC’s dietary rules

would be presumptively valid. But the Court finds that Smith does not govern the present inquiry

for two independent reasons. First, unlike the neutral and generally applicable drug law at issue in

Smith itself, the DOC’s decision to deny defendant a dietary religious exemption is more akin to

an “individualized governmental assessment” of his religious conduct. Smith, 494 U.S. at 884.



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Defendant submitted his individual request for an accommodation to the DOC’s Chaplain. The

DOC’s procedures clearly anticipate the filing of such requests, given that the DOC furnishes a

standardized form on which inmates can make inquiries with the DOC’s Chaplain’s Office. The

Chaplain then adjudicated defendant’s claim and determined that defendant’s request was without

“religious merit.” This ad hoc, case-by-case inquiry into whether prisoners’ particular claims have

religious merit is starkly distinct from Oregon’s across-the-board prohibition on the consumption

of peyote at issue in Smith. It is not generally applicable, but accommodates religious claims case-

by-case so long as the relevant adjudicator—the Chaplain’s Office—finds they hold “religious

merit.”

          Second, Smith is inapposite because the DOC’s policy is neither neutral nor generally

applicable. As the DOC explicitly acknowledged at today’s hearing—and despite its claims about

the compelling need to adhere to a uniform diet for prisoners—the DOC provides dietary religious

exemptions for both Muslim and Jewish inmates. Its sole rationale for withholding an analogous

accommodation for defendant is that his religious views lack “religious merit.” But that derisive

language simply underscores the fact that not only is the DOC withholding a religious exemption

for defendant that it already grants to other religious prisoners, but that it is doing so simply

because defendant belongs to a disfavored sect. Indeed, the DOC could not even marshal a single

example at today’s hearing in which it had denied any other dietary religious exemption for lacking

“religious merit.” 1 The implication, then, is that if defendant belonged to some other favored sect,

he would not have had to seek a federal court order to gain recognition of his religious rights.


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  The only case the DOC cited in support of its position was Rust v. Nebraska Dep’t of Correctional Serv.
Religious Study Comm., No. 4:08-CV-3185, 2009 WL 3836544, at *1 (D. Neb. Nov. 12, 2009), which the
DOC claimed supported the general proposition that prisons may deny accommodations for religiously
compelled organic diets. But that case is easily distinguishable from defendant’s, since the sect at issue
there—Theodish Belief—did not even think organic food was compelled by its religious beliefs, but was
merely “preferred.” Id. at *9.
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       Because Smith is thus inapposite, the Court’s inquiry is governed by Sherbert and its

progeny. Accordingly, the Court begins with the three-part initial showing that the defendant must

make. Again, defendant must show that he is (1) advancing a religious belief, (2) that his religious

belief is sincere, and (3) that the challenged governmental action imposes a substantial burden

upon his religious exercise. Cf. Sherbert, 374 U.S. at 403. The Court finds that defendant has

established all three of these showings.

       First, defendant’s dietary accommodation is unambiguously based on a religious belief.

Whether analyzed under the Sherbert framework or under RLUIPA, there is no doubt that

Shamanism is a religion and that defendant requests a dietary accommodation based on that

religion. Defendant wrote in his inmate request form that he seeks his dietary accommodation

because “of my being a Shamanic Practitioner.” ECF No. 6-2 at 1. And in his motion, defendant

further explains that he “is a longstanding follower of the faith of Shamanism,” which he describes

as “a religious practice.” ECF No. 6 at 2. At today’s hearing, the DOC did not even dispute that

Shamanism is a religion. To the contrary, the DOC itself sent defendant’s dietary request to its

Chaplain, indicating that it, too, apparently thought defendant’s request of a religious nature. The

Court thus finds that defendant’s belief is religious.

       Second, defendant’s willingness to go without food for more than a week is strong evidence

of his sincerity in his religious beliefs. Defendant further stated in his request that he has been

adhering to an all-organic diet as part of his Shamanism for eight years. ECF No. 6 at 2. And at

the hearing, the DOC stated that it does not dispute the sincerity of defendant’s religious

convictions. The DOC’s only relevant counterargument was that, though defendant is a Shaman,

an all-organic diet is not actually a tenet of Shamanism, and thus that defendant is mistaken about

his own religion’s dietary requirements. But even if that were true—the DOC had no evidence for



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its claim—it would not matter anyway, because binding Supreme Court precedent forecloses

governmental attempts to impeach religious claimants’ sincerity by introducing evidence that other

followers of the same sect would perceive their religious obligations differently. Thomas, 450 U.S.

at 715. In Thomas, for instance, the Indiana state government attempted to argue that a Jehovah’s

Witness was not sincere in his belief that his religion forbade him from building military tanks

because other Jehovah’s Witnesses felt no such misgiving. Id. The Court acknowledged that the

claimant, Thomas, had drawn “a line” at perhaps a different place than would have his co-

religionists. Id. But the Court explicitly cautioned that “it is not for us to say that the line he drew

was an unreasonable one.” Id. Similarly, defendant has drawn a line in this case regarding the

dietary obligations he believes his faith compels. But it is not for this Court, either, “to say that the

line he drew was an unreasonable one.” Id. And since the Court believes he drew that line sincerely,

it finds that he has satisfied the second step of his threshold showing.

        Third, defendant has shown that the DOC’s refusal to provide him with an all-organic diet

is a substantial burden—both subjectively and objectively—to his religious beliefs. As for

defendant’s subjective perceptions, he explains in his motion that eating non-organic food would

prevent him from practicing his faith. He states:

                Based on [defendant]’s shamanic belief system and way of life, non-organic
                food, which contains unnatural chemicals, would act as an “object
                intrusion” onto his body and cause serious illness if he were to eat it. An
                “object intrusion,” is the belief that disease originates outside the body from
                unhealthy objects coming into the body. In shamanic traditions, the body,
                mind, and soul are interconnected, and the well-being of all three are
                necessary for [defendant] to be able to practice his faith.

ECF No. 6 at 2–3. Defendant thus perceives that the DOC’s refusal to provide him with all-organic

food is a substantial burden on his ability to practice Shamanism. The DOC’s refusal to provide




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defendant with an all-organic diet amounts to objective coercion as well, as it forces defendant to

choose between starvation and consuming food that violates his beliefs.

        Because defendant makes the required initial showing, the burden shifts to the DOC to

justify the challenged action under a two-part inquiry. 2 To lawfully deny defendant his requested

dietary accommodation, the DOC must first show that its denial is supported by a “compelling

state interest.” Sherbert, 374 U.S. at 406. At the hearing, the DOC argued that it has a legitimate

interest in simplifying inmate food service to maintain financial and administrative feasibility. It

argued that all inmate meals are provided by contractors, rather than procured on an ad hoc basis.

Thus, it claimed, accommodating defendant would require it to alter its existing contracts for

inmate meals. The Court recognizes the DOC’s need to maintain an administratively and

financially feasible method of sourcing food for its inmates. But the DOC candidly admitted that

it routinely makes dietary accommodations for individuals who adhere to Islam and Judaism. If

the DOC is able to make accommodations for individuals of these faiths, the Court finds no reason

to believe that it would be administratively infeasible for the DOC to likewise accommodate

defendant.

        Nor could the DOC identify any instance where it had previously denied a request for a

dietary accommodation based on a perceived lack of “religious merit.” Nor did it point to any past

dietary accommodation that had impaired executing its penological goals. That the DOC presently

grants religious exemptions to other sects and yet still accomplishes those penological interests is

strong evidence that the DOC has not employed a narrowly tailored approach toward defendant’s

religion. Indeed, the truly least restrictive imposition on defendant’s religion that is consistent with



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  As noted above, because the United States Attorney does not take a position on defendant’s request for a
dietary accommodation, see ECF No. 7 at 1, a representative of the DOC appeared at the hearing to defend
the DOC’s rejection of defendant’s request.
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DOC’s penological interests would be to simply grant the requested exemption—just as the DOC

itself explains it has done in many prior instances for other claimants.

                                       IV. CONCLUSION

       For the reasons explained above, the Court GRANTS defendant’s motion seeking a

religious dietary accommodation, ECF No. 6. The D.C. Department of Corrections is hereby

ORDERED to provide defendant with food designated “organic” by the United States Department

of Agriculture. Furthermore, because defense counsel withdrew the alternative request for pre-trial

release, the Court need not rule on that request.


       It is SO ORDERED.



Date: February 3, 2021                                        /s/ Royce C. Lamberth at 7:58 P.M.
                                                              Hon. Royce C. Lamberth
                                                              United States District Judge




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